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 2
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 5

 6   Attorney for Creditor SJO Investments, LLC

 7

 8                             UNITED STATES BANKRUPTCY COURT
 9
                 CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
10

11   In re                                                Case No: 8:24-bk-10285-MH
12
     PHILIP H. INMAN,                                     Chapter 13
13
                                   Debtor.                OBJECTION OF CREDITOR SJO
14                                                        INVESTMENTS, LLC TO
                                                          CONFIRMATION OF CHAPTER 13
15
                                                          PLAN OF DEBTOR PHILIP H. INMAN
16
                                                           Date:          March 28, 2024
17                                                         Time:          10:30 am
                                                           Courtroom:     6C
18                                                         Place:         411 W Fourth Street
                                                                          Santa Ana CA 92701
19

20

21           TO THE HONORABLE MARK A. HOULE, UNITED STATES BANKRUPTCY
22   JUDGE, DEBTOR PHILIP H. INMAN AND HIS ATTORNEY OF RECORD, THE
23   CHAPTER 13 TRUSTEE, AND ALL INTERESTED PARTIES:
24           Creditor SJO Investments, LLC (“SJO”) hereby submits its objection to the confirmation
25   of the Chapter 13 Plan (the “PLAN”) of Debtor Philip H. Inman (the “Debtor”), on the following
26   grounds:
27   ///
28   ///


                                                       Page 1
      OBJECTION OF CREDITOR SJO INVESTMENTS, LLC TO CONFIRMATION OF CHAPTER 13 PLAN OF DEBTOR PHILIP H. INMAN
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 1          1.      Debtor fails to provide for the Real Estate Purchase Contract of this objecting
 2   creditor SJO Investments, LLC, and the related Lis Pendens recorded by SJO with the Orange
 3   County Recorder on January 29, 2024, affecting Debtor’s residential property at 2042 Palmetto
 4   Terrace, Fullerton CA 92831. See SJO Investments, LLC Proof of Claim No. 5 filed herewith.
 5          2.      Debtor fails to provide for payment of priority taxes claimed by priority creditor
 6   Internal Revenue Service in their Proof of Claim No. 1.
 7          3.      Debtor fails to provide for payment of arrearages claimed by secured creditor
 8   National Loan Acquisitions Co in their Proof of Claim No. 3.
 9          4.      Debtor appears to have failed to make required plan payment(s) as set forth in the
10   Trustee’s Objection to Confirmation to Plan filed March 12, 2024, Docket 19.
11          Creditor SJO Investments, LLC requests that plan confirmation be denied and the case be
12   dismissed, including dismissal under § 109(g), or converted to chapter 7 for liquidation of assets.
13
       Date: March 26, 2024                     THE ENOCHS LAW GROUP, APC
14

15
                                                BY: /s/ Jeffrey D. Poindexter
16
                                                       JEFFREY D. POINDEXTER, ESQ.
17                                                     Attorney for SJO Investments, LLC
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      OBJECTION OF CREDITOR SJO INVESTMENTS, LLC TO CONFIRMATION OF CHAPTER 13 PLAN OF DEBTOR PHILIP H. INMAN
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 1                                     CERTIFICATE OF SERVICE
 2
            I hereby certify that a copy of the foregoing OBJECTION OF CREDITOR SJO
 3
     INVESTMENTS, LLC TO CONFIRMATION OF CHAPTER 13 PLAN OF DEBTOR
 4
     PHILIP H. INMAN was served on March 26, 2024. Service was accomplished by the method
 5
     and to the following as indicated:
 6

 7
     BY ELECTRONIC NOTICE:
 8

 9   Kelli M Brown kbrown@ghidottiberger.com, bknotifications@ghidottiberger.com
     Amrane (SA) Cohen (TR) efile@ch13ac.com
10   Jon Alan Enochs jenochs@enochslaw.com, enochs_paralegal@enochslaw.com
     Christopher R Nelson cnelson@erlaw.com
11
     Scott A Schiff sas@soukup-schiff.com
12   Sunita N Sood sunitansood@hotmail.com, seemasood@gmail.com
     United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
13

14

15          I declare under penalty of perjury that the foregoing is true and correct.

16
     Date: March 26, 2024                            /s/ Jeffrey D. Poindexter
17
                                                     Jeffrey D. Poindexter, Esq.
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      OBJECTION OF CREDITOR SJO INVESTMENTS, LLC TO CONFIRMATION OF CHAPTER 13 PLAN OF DEBTOR PHILIP H. INMAN
